          EXHIBIT 2
to the Declaration of Jay W Brown
How A Group Of Russian Guns For Hire Are Operating In The Shadows   https://www.buzzfeednews.com/article/mikegiglio/inside-wagner-mercen...




                 How A Group Of Russian Guns For Hire Are
                 Operating In The Shadows

                 Reporting From Kyiv, Ukraine


                 KIEV — Chained to a radiator in eastern Ukraine, the former soldier watched his
                 captors closely.

                 It was 2014, at the start of a war that saw Russia-backed rebels seize towns and cities
                 across the region, trying to wrest the area from the central government in Kiev and
                 push it into Moscow’s orbit. The former soldier had been collecting intelligence on the
                 rebels, and they’d captured, beaten, and interrogated him once they discovered it.

                 Slumped against the radiator in a commandeered government building, beaten and
                 bloodied, he noted that most of the rebels bustling about the room were local
                 amateurs, clumsy with their weapons and nervous about fighting. With them were
                 two unarmed men in plainclothes who kept to the background — and who, earlier,
                 had observed his interrogations, taking notes. The former soldier took them for
                 members of the Russian intelligence services that had sent officers across the border
                 to assist the various rebel groups. But it was two other outsiders who piqued his
                 interest.

                 These men kept their faces hidden behind black ski masks, and they carried
                 themselves like hardened soldiers. They were boisterous and mingled with the locals,
                 telling stories and giving advice. At one point, they laid their assault rifles on a table,
                 took them apart, and gave a lesson on how to clean them. The former soldier believes
                 that these were members of the shadowy mercenary outfit called the Wagner Group,
                 working behind the scenes to help foment the war in Ukraine.

                 It would be months before Ukrainian spies would pick up on the existence of the
                 Wagner Group. But the two men fit the portrait Ukrainian authorities have since
                 painted of Wagner members and their role in Ukraine and elsewhere, as the Russian
                 mercenary group has expanded to several countries. Wagner bills itself as a private
                 military company and often acts like one, and yet it also carries out work on behalf of
                 the Kremlin — “blurring what’s state and nonstate, and what’s the hand of the state,”
                 according to Andrew Weiss, a Russia expert formerly on the National Security
                 Council who is now at the Carnegie Endowment for International Peace.

                 Wagner is believed to be owned by a businessman close to Russian President
                 Vladimir Putin. Credible estimates of its membership are hard to come by, Weiss
                 notes, but numbers reported by the Russian media range between 3,000 and 5,000
                 fighters, including reserves; many have experience in Russia-backed wars. In
                 Ukraine, according to authorities there, Wagner soldiers trained and aided rebel
                 groups and fought Ukrainian troops, while also acting as Moscow’s enforcers,
                 intimidating and assassinating rebel leaders who wouldn’t fall into line. From there,
                 Wagner expanded into Syria, where its operatives have trained pro-government
                 militia and guarded oil facilities and died in combat. A year ago, Wagner fighters and
                 their local allies attacked US forces in eastern Syria, apparently trying to dislodge
                 them from an oil field. The US responded with airstrikes, and reportedly killed more


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                 than 200 of the attackers.

                 Wagner has also surfaced in war-torn Central African Republic, where its soldiers
                 serve as a presidential guard for the embattled dictator and protect gold and diamond
                 mines. It is believed to be operating amid the unrest in Sudan and the civil war in
                 Libya. Gen. Stephen Townsend, President Trump’s nominee to lead the US Africa
                 Command, said in congressional testimony this month that he considers Russian
                 mercenaries second only to terrorist groups as a threat on the continent. “They
                 concern me greatly,” he said, referring to them as “quasi-military” forces.

                        BuzzFeed News/Frank Ramspott

                 There have been reports in recent months that Wagner soldiers are aiding President
                 Nicolás Maduro in Venezuela, though US officials haven’t confirmed this, even as
                 they have condemned Russia for sending military assistance. One thing that is clear
                 about Wagner, said a US congressional source monitoring it, is its penchant for
                 targeting places with “unstable security situations and the potential for economic
                 profits.”

                 As is often the case with Russian forms of hybrid warfare, much else about Wagner
                 remains the subject of debate, as experts wonder whether it’s a serious threat to US
                 interests, a diversion, or an experiment that has seen limited success but is otherwise
                 overhyped. Some, like the Ukrainian authorities, consider it a covert arm of the
                 Russian security forces and a threat to undermine other vulnerable Eastern European
                 countries. Others regard it as a group of common mercenaries fashioned in the mold
                 of Erik Prince’s US outfit Blackwater (now known as Academi) — and likewise run by
                 a controversial businessman who seeks out contracts via connections to government
                 elites. Still others dismiss it as bungling, pointing to the deaths in Syria.

                 The truth may be that it is all of these things — directed by the Kremlin at times while
                 also allowed to pursue its mercenary greed, inept at times but also just about
                 competent and reckless enough to be dangerous. Peter MacKay, the former Canadian
                 defense minister, thinks Wagner’s muddled identity is one of its strengths. “They can
                 do extraterritorial work for Russia but not have it attributable directly to the
                 Kremlin,” he said.

                 MacKay said NATO countries are wary of the Wagner Group’s expansion. “They’re
                 nervous,” he said. “[Wagner's forces] seem to be probing further and further afield.”

                 Shackled to the radiator, the former Ukrainian soldier listened as the two masked
                 men tried to calm the anxious local rebels. His suspicion that they were Wagner
                 soldiers can’t be proven, but he was a source of reliable information about the rebels
                 early in the conflict, and other details from his account of captivity proved true after
                 his release. The rebels were worried about an attack from the Ukrainian army. It was
                 still the beginning of the conflict, and some wondered if they should flee, fearing
                 they’d be arrested if their insurgency proved to be short-lived. They couldn’t know
                 then that the war would drag on for years — or that many local rebels would one day
                 join Wagner in Syria and beyond in a bid to escape the conflict’s misery. The masked
                 men seemed untroubled. “Don’t worry,” one of them said. “Stick with us, and you’ll be
                 fine.”

                        Mikhail Svetlov / Getty Images

                        Russian businessman and possible Wagner owner Yevgeny Prigozhin at


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                        an investors meeting in Vladivostok, Russia, in 2016.

                 Much of the information that has emerged about the Wagner Group has the feel
                 of the former soldier’s story — fragmentary, nebulous, and pieced together in
                 hindsight.

                 A murky aura persists around Wagner and the man who is thought to own it. A
                 balding 57-year-old who often manages to be photographed scowling, Yevgeny
                 Prigozhin is an example of how people close to Putin build their wealth — and then
                 are deployed as useful tools. He was a little-known restaurateur until he appeared in
                 Putin’s orbit in the early 2000s and began serving the autocrat during visits by
                 foreign dignitaries. Prigozhin became a powerful businessman as he received a steady
                 stream of catering contracts from the state. Often referred to in the local press as
                 “Putin’s chef,” he is now seen as a key member of Putin’s inner circle.

                 These perks come with strings attached, according to Stephen Blank, a Russia expert
                 who has been researching the Wagner Group for the US Army War College. He sees
                 Prigozhin as an example of how Putin has weaponized Russia’s wealthy elites.
                 “They’re subordinate to the state, and they keep their money and their positions on
                 the condition that they serve the state,” he said.

                 Wagner has been funded at times via outsize state contracts directed to Prigozhin-
                 owned companies, for services such as catering at military bases. At other times,
                 Wagner has funded itself via deals with foreign governments. In the Central African
                 Republic, it is compensated for training the presidential guard and receives a
                 percentage of profits from the gold and diamond mines it guards, the congressional
                 source said. It has a similar arrangement in Syria, where it takes a cut from the
                 operations of oil and natural gas fields. Blank noted that these foreign contracts likely
                 have the Kremlin’s seal of approval. Wagner members have reportedly been flown in
                 and out of Syria on Russian military planes and have trained at a military base in
                 southern Russia, according to Ukrainian authorities and Russian journalists. “This is
                 not some sort of rogue operation,” Blank said. “They’re designed to carry out tasks
                 that the Russian government doesn’t want the military involved in.”

                        Misha Japaridze / AP

                        Prigozhin (left) serves food to Vladimir Putin at Prigozhin’s restaurant
                        outside Moscow.

                 Prigozhin has been sanctioned multiple times by the US Treasury Department. The
                 first time was in 2016, for aiding Russia’s involvement in the war in Ukraine. (The
                 Wagner Group was also sanctioned for its role in the conflict, and a Prigozhin-owned
                 company, Evro Polis, was sanctioned for its involvement in Syria.) Another round of
                 sanctions targeting Prigozhin came last year, for meddling in the 2016 US
                 presidential election. That’s because Prigozhin funds and directs the Internet
                 Research Agency, known in the US media as the “troll farm,” which, according to an
                 indictment from special counsel Robert Mueller, created social media accounts to
                 spread disinformation and promote Donald Trump during his presidential campaign.
                 Weiss, of Carnegie, noted that the IRA was originally established to disparage the
                 Kremlin’s internal enemies but has also been used to trash Prigozhin’s business
                 rivals. He called Prigozhin’s ability to tap both real-world and online private armies
                 on behalf of the Kremlin “an autocrat’s dream.”

                 “He has developed multiple tools that can be mobilized on behalf of the regime to go


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                 after people, and I don’t see much evidence that these capabilities are now being
                 reined in,” he said. “If anything, Prigozhin has continued trying to monetize his
                 notoriety in the form of lucrative state contracts.”

                 Much of the public record on Prigozhin and the Wagner Group has been written by
                 Russian journalists working in the face of relentless threats. The reporter who shed
                 light on Wagner’s role in the Ukrainian war, Denis Korotkov, said he has changed
                 addresses “to avoid giving someone the pleasure of bashing me over the head in the
                 hallway of my own apartment building.” After he published an exposé alleging that
                 Wagner operatives killed a Russian blogger and tested poison on Syrian soldiers,
                 someone sent caged sheep to the offices of his newspaper, threatening a slaughter.
                 Another reporter died last year in a mysterious fall from a balcony. Three journalists
                 who traveled to the Central African Republic to investigate the company were shot to
                 death.

                 A former soldier who is close with senior members of the Wagner Group described a
                 culture of paranoia within it. After agreeing to an interview, he then became paranoid
                 himself, dropping out of touch for days. He later called to say he couldn’t go through
                 with it, and that he’d been up through the previous night, worrying. If he talked, he
                 said, he could face retaliation. He said he knew of one Wagner member whom he
                 believed was killed for visiting a Western embassy outside of Russia and others who
                 were attacked for speaking to journalists. Wagner has ramped up internal checks to
                 prevent leaks, he added. His fears came despite the fact that he keeps photos of
                 himself smiling with senior Wagner members on his phone. “You can’t mess around
                 with those guys,” he said.

                 This code of silence, though, has had mixed results. Prigozhin has filed more than a
                 dozen lawsuits against Yandex, Russia’s main internet search engine, seeking to have
                 news stories about himself removed, in an almost laughable attempt at anonymity.
                 The steady stream of Russian press leaks, Weiss said, suggests that he has powerful
                 enemies within the Russian national security establishment who object to his rise to
                 power — and that he isn’t as skilled as he wants to be at keeping secrets. Recently, he
                 has been embroiled in embarrassing scandals, such as an outbreak of dysentery at
                 schools served by his catering business, which has been the subject of investigations
                 backed by the anti-corruption campaigner Alexei Navalny. A video showing
                 Prigozhin’s armored BMW being stopped by authorities in St. Petersburg racked up
                 millions of views on YouTube. “There’s no doubt that the release of embarrassing
                 videos and details about Prigozhin’s business activities are aimed at taking him down
                 a peg or two,” Weiss said.

                 The debate over Prigozhin and Wagner echoes one that has played out over the IRA
                 and over Russian efforts at subverting the US and its allies more generally. It centers
                 on the question of whether these efforts have been as effective as some believe — or
                 whether the hype that surrounds Russian intrigue is the real victory for Putin and his
                 entourage, helping them to sow confusion, and making them seem more powerful
                 than they are.

                 With Wagner, this question is complicated by the fact that it has been different things
                 in different places at different times.

                        Sergey Gapon / AFP / Getty Images

                        A boy throws an egg at an image of Putin depicted as Adolf Hitler during a
                        flash mob event in Kiev on May 24, 2014, a day before the presidential


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                        election in Ukraine.

                 The first Wagner soldiers who appeared in Ukraine were specialists who worked
                 under the direction of handlers in the Russian defense ministry, according to the
                 country’s domestic intelligence agency, the Security Service of Ukraine.

                 This was the version of Wagner’s history presented by Gen. Igor Guskov in a private
                 briefing in Kiev. Guskov oversees the Wagner file for the SSU, and he has given
                 similar versions of the briefing to his counterparts from the US and Europe, hoping to
                 make them grasp the threat he sees. He takes his mission personally. “We will follow
                 them until we get vengeance,” he said. “We will follow them all over the world.”

                 The war may have faded from the international headlines, but in Ukraine it remains
                 an urgent issue, with memorials to those who have died lining the capital’s main
                 square. The conflict began when pro-Western protests in the same square forced the
                 Russia-backed president to flee — prompting a bout of paranoia from Putin, who
                 worried about losing influence in a country where the possibility of NATO and EU
                 encroachment has long been seen by Russian leaders as an existential threat. After
                 bloodlessly seizing the Ukrainian peninsula of Crimea in 2014, Russia then helped to
                 instigate the war in eastern Ukraine, leaving the new, pro-Western government in
                 Kiev badly weakened.

                        STR / Sipa USA via AP

                        Gen. Igor Guskov

                 Ukrainian authorities often paint the country as a kind of laboratory for Russian
                 destabilization tactics that are then deployed elsewhere. Ukraine also saw early efforts
                 at Russia’s social media–fueled disinformation warfare. Trump’s former campaign
                 chair, Paul Manafort, worked for the same pro-Russia president who was ousted in
                 the protests — work that has since seen him imprisoned on bank and tax fraud
                 charges stemming from the Mueller investigation. It suits Ukraine to draw as much
                 attention as possible to Wagner, and to tie Kiev's problems with Russia to those of the
                 US.

                 Guskov has put information about the Wagner Group in the public record, giving
                 press conferences and releasing intelligence. After rebels shot down a Ukrainian army
                 transport plane in 2014, killing 49 people, the SSU released audio recordings that
                 purport to show senior Wagner members taking credit as they communicate with
                 their Russian handlers.

                 Other information released by the SSU has come through a collaboration with
                 Ukrainian hackers. Together they have identified Wagner members by mining the
                 internet — digging up social media posts from Ukraine, Syria, and beyond — as well
                 as finding ID numbers that Wagner appears to issue to its mercenaries and
                 identifying the state military medals some of them have been awarded.

                 Russia denied its role in the war in eastern Ukraine from the start. When journalists
                 revealed that there were soldiers from the Russian military on the front lines, Russia
                 claimed, improbably, that they were simply volunteering in Ukraine, while on
                 holiday. Guskov believes that Wagner gave Putin the same sort of deniability for
                 sensitive missions — and that this has been key to its utility in other countries. He
                 regards exposing Wagner as part of combating it.



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                        1tv / Via 1tv.ru

                        Dmitry Utkin (highlighted, far left) attends a speech by Putin at the
                        Kremlin on Dec. 6, 2016.

                 One man who has been the focus of SSU investigations is Dmitry Utkin, a former
                 Russian special forces officer. It was Utkin who was overheard communicating with
                 his Russian handlers when Wagner shot down the Ukrainian transport plane,
                 according to the SSU, and he is believed to be Wagner’s commander. He is said to be
                 fascinated with Nazis, and the Wagner Group is said to be named after Utkin’s love of
                 the German composer, one of Hitler’s favorites. Utkin has been photographed with
                 Putin, and like other Wagner members has reportedly received state medals.

                 As the war dragged on, eastern Ukraine became a recruiting ground for Wagner as
                 the group extended its operations to other countries. The rapid expansion saw a
                 rising demand not for specialists like Utkin, but for grunts, whom critical Russian
                 journalists sometimes refer to as “cannon fodder.” These men were often recruited
                 from poor parts of Russia and from among the rebels in eastern Ukraine, where the
                 economy has tanked under the rule of Russia’s proxies.

                 Guskov noted that it’s not just Ukrainian soldiers that Wagner has recruited from
                 abroad. He said the SSU has tracked about 30 Serbian Wagner members, as well as
                 citizens of Belarus, Uzbekistan, Moldova, and even France.

                 Guskov believes that Wagner will keep its international focus and could be used to
                 destabilize other vulnerable Eastern European countries one day. “Just look at what
                 happened to us,” he said.

                        George Ourfalian / AFP / Getty Images

                        Syrian regime forces fire toward Islamic State jihadists south of the town
                        of Al-Bab in the northern province of Aleppo on Jan. 14, 2016.

                 Wagner received its next opportunity after Russia entered the civil war in Syria,
                 in 2015, with the aim of propping up the regime of Syrian President Bashar al-Assad.

                 As the Russian air force bombed opposition strongholds and Russian officers worked
                 with local military units and militia, Putin was anxious not to see an increase in
                 casualties among Russian soldiers. He was worried about what the political fallout of
                 this might be at home, and so, like the US has done for its own costly engagements in
                 the Middle East, Putin turned to contractors to fill out the Russian ranks. Here
                 Wagner’s model presented an added bonus — since it funded itself in part via oil and
                 gas deals with the Syrian government, it also helped to pay its own costs.

                 While more skilled Wagner operatives trained specialized Syrian army and pro-Assad
                 militia units, the so-called cannon fodder filled out the front lines in battles against
                 ISIS and rebel forces. Wagner has reportedly taken regular casualties in these battles.

                 Speaking on condition of anonymity, a Syrian businessman who helped to facilitate
                 Wagner’s relationship with the government in Damascus described how Wagner paid
                 two tiers of salaries, with higher-level members that he described as “officers”
                 receiving approximately double the wages of the grunts.

                 At the same time, the businessman added, Wagner has been intensely focused on



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                 profits from oil and gas fields. Much of these resources lay in areas of eastern Syria
                 occupied by US forces and their local allies.

                 Michael Kofman, an expert on the Russian military who has advised senior military
                 and government officials on Russia, said that Wagner “is organized into battalion
                 tactical groups, with their own officers and regulars.” He noted that its activities “are
                 supposedly coordinated by military intelligence” but that these types of intelligence
                 links are “a rather murky thing in Russia. This makes Wagner a sort of public-private
                 partnership between financiers like Prigozhin, and military intelligence, which helps
                 arm, transport, and field these people in support of combat operations.”

                 In the American mercenary model made famous by Blackwater in Iraq, contractors
                 were mainly used to secure facilities, patrol the so-called “green zone” in Baghdad,
                 and protect VIPs, freeing up US troops to focus on combat duties. In Syria, Russia has
                 used its mercenaries the other way around — “leading in combat with Russian forces
                 in support,” said Kofman, who is a senior research scientist at CNA, a defense
                 research center in Virginia. “This allowed Russian commanders to maintain a small
                 footprint for their own ground forces, and displace most of the casualties onto
                 mercenary battalions.”

                        Pavel Golovkin / AP

                        A car hood collage of Putin (right), Syrian President Bashar al-Assad (left),
                        and Assad’s brother, Gen. Maher al-Assad, in Maarzaf, Syria.

                 When Wagner soldiers and their local allies launched their notorious attack in
                 February 2018 against US and Kurdish forces based at the Conoco oil field near the
                 Euphrates river in eastern Syria, some, like Kofman, saw it as an example of the limits
                 of Russia’s mercenary model. “They went raiding in a war zone, looking to make
                 money for their sponsor,” he said, calling the incident “a fiasco for the Russians.”

                 Others saw it as part of Russian efforts to see how far it can push against the US and
                 its allies — and say that Wagner thought it might be able to score a victory with a
                 surprise attack.

                 “Russian Wagner mercenaries knowingly crossed a red line when they went across
                 the Euphrates to try to seize the Conoco plant, thinking that [Kurdish] troops and
                 their embedded US partners would be intimidated by the show of force and back
                 down,” said Michael Carpenter, a former National Security Council director for
                 Russia and deputy assistant secretary of defense who is now senior director of the
                 Penn Biden Center for Global Diplomacy and Engagement. “This fits with the Russian
                 military’s tactic of probing and testing an adversary’s resistance. When they find
                 none, they continue. But in this case, the US Air Force called in strikes that decimated
                 the Russian mercenary force.”

                 The casualties were reportedly treated at Russian defense ministry hospitals. There
                 have been no publicly known Wagner forays against US troops since. The incident
                 provides insight into Russia’s posture abroad and how Wagner fits into it, said Brad
                 Bowman, senior director of the Center on Military and Political Power at the
                 Foundation for Defense of Democracies. “Utilizing irregular forces provides Putin an
                 asymmetrical capability to potentially accrue similar strategic gains compared to
                 conventional forces, while minimizing the downsides for Moscow if things do not go
                 well. If they go well, they pocket the gain. If they do not go well, they deny
                 involvement,” he said. “Putin uses Wagner in Syria, and Beijing uses fishing vessels in


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                 the South China Sea. Both great power rivals are probing the frontiers of American
                 influence for weakness — ready to press their advantage when they find a lack of
                 military capability or political will.”

                        Alexander Zemlianichenko / AP

                        The National Defense Management Center of the Russian Defense
                        Ministry in Moscow.

                 In Russia, a backlash against Wagner has been brewing. Yevgeny Shabaev, a
                 former Russian military officer, has put himself forward as an advocate for members
                 of the Wagner Group and other private military companies in the country.

                 Shabaev, who says he is in touch regularly with these mercenaries, and has helped to
                 file a petition with the International Criminal Court on their behalf, said in a phone
                 interview that those recruited as so-called cannon fodder for Wagner tend to be poor,
                 lured by the promise of decent pay they couldn’t find otherwise in Russia’s faltering
                 economy. Syria has been the first mission for many, Shabaev said, and the new troops
                 often arrive to find conditions far worse than their recruiters had advertised. For
                 rank-and-file soldiers, the quarters can be harsh, the food poor, and the combat
                 deadly, Shabaev said, adding that some have chosen to buy better weapons than the
                 shoddy arms they were provided. Anyone who complains, he said, might be told, “if
                 you don’t want to serve, you can walk back to Moscow on your own legs.”

                 This treatment contrasts with “the officers and people close to the ownership
                 structure,” who receive higher salaries and sometimes even a percentage of profits,
                 Shabaev added.

                 Shabaev has launched an unlikely lobbying crusade in Russia, pushing to get private
                 military companies legalized. Currently, such groups are officially prohibited, which
                 puts Wagner members in a precarious legal situation. Shabaev also wants soldiers
                 from Wagner and other private military companies to be entitled to some of the same
                 benefits as regular Russian soldiers — including better medical and psychological
                 care. He said that many Wagner members have returned home with post-traumatic
                 stress disorder and other medical issues that tend to go unaddressed. “They go to
                 military hospitals [for immediate wounds], but they receive just basic treatment, and
                 they don’t get rehab,” he said.

                 Shabaev knows his campaign faces difficult odds. Prigozhin and other powerful
                 businessmen behind mercenary companies benefit from keeping things off the books.
                 “They have realized that running private military companies costs them little, because
                 the logistics are provided by the government, and the market is huge,” he said.

                 He sees the private military model as responsible for many of Wagner’s battlefield
                 losses. “The system is based on personal financial interests, not on military sense,” he
                 said. “There is not any patriotism. There is only financial interest.”

                 But Sean McFate, a former private military contractor who is now a senior fellow at
                 the Atlantic Council, said that the Wagner Group represents the new normal — not
                 just for Russia but for many world powers, including the US. “War is going
                 underground,” he said. “To me, Wagner is just one more symptom of this.”

                 The grunts of Wagner often do the work long associated with Western private military
                 companies — personal protection, guarding facilities. Even the more specialized work


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                 top-tier Wagner members are believed to have done in Ukraine and Syria, though,
                 has been outsourced to private contractors by the US and its allies. McFate did this
                 kind of contracting himself, working for DynCorp International and other firms in
                 Africa.

                 “Missions once conducted by special operations forces or the CIA are now
                 outsourced; I know because I did them,” McFate wrote in his recent book, The New
                 Rules of War, listing some of the tasks he performed across the globe, from training
                 local forces to facilitating arms deals. “Plausible deniability is one of the main appeals
                 of contractors. If something bad happened to me, I could be disavowed. If a CIA or
                 special operations team got into trouble, the US government would have to do
                 something: stage a rescue, pay a big ransom, or — worse — go public. But not so with
                 contractors, who are disposable humans.”

                 In an interview, McFate predicted that the US would only turn more to private
                 contractors, or mercenaries, as it pushes to maintain its expansive overseas presence
                 while at the same time seeking to have fewer official boots on the ground and less
                 accountability. A Pentagon report released last year showed that it was employing
                 more than 5,000 contractors in Iraq and Syria. In a sense, with Wagner, Russia may
                 simply be catching up. “Can the US really criticize Russia for using contractors?”
                 McFate asks. “No. We’ve legitimized it.” ●

                 Anton Skyba in Kiev, Munzer al-Awad in Berlin, and Jovo Martinovic contributed
                 reporting to this story.




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